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                                                                ~ctavis
                              HEALTH CARE COMPLIANCE BUSINESS RULES
           Title:                                                Document#         Version#

                    Sales Representative's lrlteractions with    Actavis-BR-01     201 0-01
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           1.0    Purpose

                  1.1.   The purpose of these Business Rules is to provide a system and instruction,
                         and to assign responsibility for Sales Representative's promotional activities
                         and their interactions with healthcare professionals (HCPs) and patients.


           2.0    Scope

                  2.1    It is the policy of in Ventiv Health that business is conducted in a manner
                         consistent with the legal, regulatory and ethical standards as contained herein
                         ("Business Rules"), and that all employees shall seek to avoid even the
                         appearance of improper behavior. All sales representatives promoting on
                         behalf of Actavis will be made aware of the legal and regulatory requirements
                         applicable to the operations for which they are responsible and will be
                         accountable for complying with these requirements at all times.

                  2.2    These business rules apply to all in Ventiv sales representatives and Field
                         Managers ( collectively sales representatives) that interact directly or indirectly
                         with Actavis customers.


           3.0    Responsibilities

                  3.1    The in Ventiv Health Commercial Compliance Department is responsible for
                         the effective implementation and training of these business rules; and,

                  3.2    Sales representatives are responsible to read, understand and fully comply
                         with the business rules and policies of this program; repott to their
                         management any uncettainty concerning any term, statement or patt of said
                         business rules.; and,

                  3.3    Actavis is responsible to provide clear direction to in Veotiv Commercial
                         Compliance all business rules and policies as required contractually that
                         permit inVentiv Commercial Compliance to develop and implement a
                         healthcare compliance program that meets Actavis's expectations.


           4.0    Related Procedures

                  4 .1   in Ventiv Business Code of Conduct and Ethics

                  4.2     inVentiv Commercial Compliance Handbook

                  4.3    inVentiv Healthcare Compliance Policy




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           5.0    Related Forms

                  5.1    Commercial Compliance Training Certification Form

                  5.2    Employment Agreement (ioVentiv employees only)


           6.0    Interactions with Patients

                  Policy Guidelines on Interactions with Patients
                  6.1    FDA regulations provide that promotional contact with patients or patient
                         support groups constitute direct-to-consumer promotion.

                  6.2    inVentiv clients will determine if inVentiv sales representatives can have
                         direct contact with patients or patient suppmt groups. Therefore, unless client
                         business rnles allow, in Ventiv sales representatives must not:

                         6.2.1   Have direct contact with patients and/or patient suppo1t groups;

                         6.2.2   Engage in product discussions with patients and/or patient supp01t
                                 groups;

                         6.2.3   Disseminate promotional or educational materials to patients or patient
                                 suppott groups;

                         6.2.4   Engage in promotional or educational activities with patients or patient
                                 suppo1t groups.

                  Question for Actavis:
                  6.3    Are there additional business rules specific to interactions with patients or
                         patient support groups that need to be communicated to in Ventiv sales
                         representatives?


           7 .0   Use of Educational and Promotional Materials

                  Policy Guidelines & Business Rules for Sales Representative's Activities
                  The following sales and promotional activities require client specific business mies to
                  ensure inVeotiv sales representatives are trained appropriately and activities are
                  conducted in accordance with state and federal regulations and industry guidelines,
                  inVentiv's Business Conduct Policy, inVentiv's Healthcare Compliance Policy, and
                  the client's poUcies and procedures.

                  Educational & Promotional Materials:
                  The following are inVentiv's policy guidelines for use of Actavis's educational and
                  promotional materials.


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                  7.1    inVentiv sales representatives may only use promotional materials that have
                         been approved and provided for use by our Client.

                  7.2    Sales representatives must use Actavis approved promotional and educational
                         materials for their intended use and must always comply with Actavis
                         restriction codes for all promotional and educational material.

                  7.3    Sales representatives must not create or use "homemade" promotional
                         materials including any type of handwritten or printed materials addressing
                         claims, benefits, or uses of a client's products or comparison to competitive
                         products. Any Actavis unapproved material, such as web site pulls, journal ad
                         copies, reprints, competitor product comparisons and sales aids are not
                         permitted.

                  7.4    inVentiv sales representatives may not make any enhancements or changes to
                         Actavis approved sales aids, including highlighting, underlining and/or any
                         marks such as an asterisk.

                  7.5    Sales representatives may not promote uses of Actavis's product that are not
                         consistent with the approved product labeling. Sales Representatives must
                         always make statements to healthcare professionals that are within the
                         approved prescribing information and shall always leave a package insert (PI)
                         with each call.

                  7.6    Sales representatives must always ensure product information presented
                         provides a fair balance between the safety and efficacy of the product.

                  7.7    If a Sales Representative receives a request from a physician, pharmacist, or
                         other healthcare professional for off-label information, the Sales Representa-
                         tive must:

                         7.7. J   Advise the requester that the product is not approved for the intended
                                  use;

                         7.7.2    Inform the requester that they are not permitted to engage in off-label
                                  discussions or inquiries; and,

                         7.7.3    Follow Actavis's business mies for Off-Label Inquiries.

                  7.8    Sales representatives must always be mindful that call notes could be subject
                         to subpoena and therefore, should be written with care and consideration as to
                         their intent and content.




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                  Question for Actavis:
                  7.9    Are there additional business rules specific to the promotion of Actavis
                         products and the use of Acta vis's educational and promotional materials that
                         need to be communicated to in Ventiv sales representatives?


           8.0    Off-Label Inquiries

                  8.1    in Ventiv sales representatives may not:

                         8.1. I   Initiate, prompt, or engage in off-label product discussions;

                         8.1.2    Promote an unapproved product use or indication;

                         8.1.3    Directly or indirectly, solicit "off-label" questions from health care
                                  professionals.

                  8.2    in Ventiv sales representatives must respond to unsolicited requests for off-
                         label information in the following manner:

                         8.2.1    Advise the health care professional that you are only permitted to
                                  discuss FDA approved uses and/or indications; then follow Actavis
                                  business mles for "Off-Label Inquiries."

                         8.2.2 Questions relating to investigational drugs or off-label uses of
                               marketed products must be referred back to Actavis.

                  Question for Actavis:
                  8.3    How do inVentiv sales representatives respond to unsolicited requests for off-
                         label information by a health care professional?

                         •   Sales representatives are to refer all questions regarding Off-Labe]
                             inquiries to Actavis Medical Affairs at:

                                  o   1-888-496-3082


           9 .0   Promotional Speaker Programs

                  9. I   in Ventiv sales representatives are not permitted to conduct Promotional
                         Speaker Programs unless our clients determine they have a legitimate business
                         need and gives them permission to do so.

                  Questions for Actavis:
                  9.2    Will inVentiv sales representatives be permitted to conduct Promotional
                         Speaker Programs? NO



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                          If so, does Actavis have:
                          9.2.1     A speaker agreement m place that reflects FMV for the speaker
                                    payment?

                          9.2.2     An approved speaker list?

                          9.2.3     Minimum and maximum guidelines set for # of meetings and
                                    attendees?

                          If not:
                          9.2.4     Who would inVentiv sales representatives refer a health care
                                    professional to in the event they receive an unsolicited inquiry
                                    regarding a promotional speaker program?

                                    At this time Actavis will not be participating in any Promotional
                                    Speaker Programs


           10.0   Medical Conferences and Conventions

                  10 .1   Because commercial activity is perceived as being promotional, attendance
                          and/or pa1ticipation at medical conferences and conventions must adhere to
                          cljeut specific business rules.

                  10.2    inVentiv sales representative's role, act1v1t1es, and information used at
                          medical conferences and/or conventions must clearly be defined prior to
                          attendance.

                  Questions for Actavis:
                  10.3    Will inVentiv sales representatives be allowed to attend and/or participate in
                          medical conferences or conventions?

                  10.4    What business rules apply to sales representatives' actions in booths and/or
                          exhibits?


           11.0   Consulting and Service Arrangements

                  11.1    Unless agreed upon in advance and clear direction provided by Actavis,
                          in Ventiv sales representatives shall play no role in such consulting or service
                          arrangements.

                  11 .2   inVentiv employees shall not independently retain or use any health care
                          professional or other individual as consultants. inVentiv sales representatives
                          shall not make any payment directly to a health care professional for such
                          services.


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                  Question for Actavis:
                  11.3    Will in Ventiv representatives be engaging in any activities that are related to
                          consulting or service arrangements?


           12.0   Educational Grants

                  12.1    inVentiv does not permit sales representatives to have any involvement or
                          decision-making ability in the grant request process. However, we do allow
                          them to disseminate general program information on a client's behalf.

                  Question for Actavis:
                  12.2    How does Actavis want inYentiv sales representatives to respond when they
                          receive an unsolicited request for an educational grant?

                          At this time Actavis will not be offering any Educational Grants


           13.0   Educational and Medically Relevant Items

                  13.l    inVentiv's Policy prohibits sales representatives from providing gifts or non-
                          educational items to a Health Care Practitioner and/or their staff

                  13.2    If client business rules allow, inVentiv field sales representatives may provide
                          HCPs educational and/or medically relevant items as long as the item:

                          13.2.1   Has been approved by Actavis;

                          13.2.2   Is provided on an occasional basis;

                          13.2.3   Serves a genuine educational and/or clinical need (e.g. textbook);

                          13.2.4   Benefits patients or patient care (e.g. anatomical model);

                          13.2.5   Does not exceed $100 per industry standard (e.g. textbook)

                          13.2.6   Is not in the form of cash or other cash equivalent where a HCP
                                   could purchase an item on his/her own;

                  Question for Actavis:
                  13.3    Considering inVentiv's policy, state requirements, and the standards set forth
                          in the updated guidance document (CODE) regarding interactions with health
                          care professionals does Actavis have additional business rules that apply to
                          sales representatives providing anything of value to HCPs?

                  13 .4   Will in Ventiv sales representatives be permitted to distribute non-educational
                          items (i.e. pens. pads, etc.) to HCPs?


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                  13.5    Will sales representatives be deployed in states that require adherence to the
                          new updated Code on interactions with health care professionals by state law?

                          States requiring compliance by State Law:
                              • California
                              • Massachusetts
                              • Nevada
           14.0   Meals and Entertainment

                  14.1    inVentiv 's policy does not allow sales representatives to provide social
                          activities or hospitality to client customers unless our client' s business rules
                          allow.

                  14.2    inVentiv sales representatives may only provide occasional modest meals to
                          client customers.

                  Questions for Actavis:
                  14.3    Will inVentiv sales representatives provide meals or food to your customers
                          or just HCPs?

                  14.4    What is your definition of a customer?

                  14.5    What is your definition of a HCP?

                  14.6    What is your definition of modest?

                  14. 7   What is your definition of occasional?

                  14.8    Will inVcntiv sales representatives provide in-office meals?
                          If yes:
                          14.8. 1 For HCPs only or customers?

                          14.8.2 For what purpose?

                  14.9    What is your "per-person" spend limit for in-office meals?
                          • [Breakfast]         $1 0
                          • [Lunch]             $25
                          • [Dinner]
                          • [Snack]

                  14.10 Will inVentiv sales representatives provide out of office meals to HCPs?
                          If yes:
                          14.10.1 For HCPs only or customers?


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                          14.10.2 For what purpose?

                          14.10. 3 Where can out of office meals occur?

                  14.11 What is your "per-person" spend limit for out of office meals?
                          • [Breakfast]
                          • [Lunch]
                          • [Dinner]
                          • [Snack]

           15.0   Adverse Events and Product Complaints

                  15 .1   inVentiv does not provide an avenue for its sales representatives to report
                          adverse events or product complaints; therefore, we rely on our client's to
                          provide the reporting requirements and procedures for adverse events and
                          product complaints.

                  15.2    To ensure we provide appropriate instructions to our representatives please
                          provide a response to following questions in addition to any other information
                          you feel would be appropriate. We treat this as a high-risk area for our clients
                          and want to make sure we communicate the process effectively.

                  Questions for Client:
                  15.3    What process does Actavis expect our sales representatives to follow when
                          reporting Adverse Events?

                          •   To report or access information, regarding Adverse Events and
                              Product Complaints sales representatives are to call:

                                     o    1-888-469-3082

                  15.4    We understand the FDA holds Actavis accountable for reporting adverse
                          events within a specific tin1eframe. What is Aetavis's reporting requirements
                          once an in Ventiv representative is made aware of an adverse event?

                  15.5    Is there other information than what is listed below that Actavis requires in the
                          report?

                          15.5.1         Product name and strength;

                          15.5.2         Product NDC and Lot #;

                          15 .5 .3       Reporters name, (healthcare professional) address, and telephone
                                         number;

                          15.5.4         Description and date of the event;



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                          15.5.5     Gender and age of the person affected by the Adverse Event;

                          15.5.6     Date of the report to the Sales Representative;

                          15.5.7     Sales Representative's name and contact information.


           16.0   Product Complaints

                  Questions for Actavis:
                  16.1    What process does Actavis expect our sales representatives follow when
                          repo1ting Product Complaints?

                      •   To report or access information, regarding Adverse Events and Product
                          Complaints sales representatives are to call:

                              o     1-888-469-3082

                  16.2    What is Actavis 's reporting requirements once an inVentiv                 Sales
                          Representative is made aware of a Product Complaint?

                  16.3    Is there other information than what is listed below that Actavis requires in the
                          Product Complaint report?

                          16.3.J     Product name and strength

                          16.3.2     Product NDC and Lot#

                          16.3.3     Repo1ter's name, (health care professional) address and telephone
                                     number

                          16.3.4     Description of the defect

                          16.3.5     Date of report to the Sales Representative

                          ] 6.3.6    Sales Representative's name and contact information


           17.0   State Legislation

                  17. l   Based on current state legislation for the following states, inVentiv
                          representatives will adhere to the active state legislation and repotting
                          requirements. The following states have current legislation:
                          •   California
                          •   Colorado
                          •   District of Columbia



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                         •   Louisiana
                         •   Maine
                         •   Massachusetts
                         •   Minnesota
                         •   New Hampshire
                         •   Nevada
                         •   West Virginia
                         •   Vermont

                  Question for Actavis:

                  17.2   Do Actavis representatives cover any of the states indicated?

                  17.3   Does Actavis have any representatives or direct managers interacting with
                         HCPs in Washington, DC, which now requires licensure?


           18.0   Direct Marketing Expense Reporting

                  18.1   These business rnles will be addressed in the template provided by our Sales
                         Force Automation team.

                  18.2   These business rules will be applied to the representative's Target Mobile
                         System for use in reporting Direct Marketing Expenses.


           19.0   Contact Information and Available Resources

                  19.1   ioVentiv employees have multiple resources available to them if they have
                         compliance questions or concerns (i.e. Compliance Hotline and Website).

                  19.2   Although we instruct our sales representatives to contact their manager when
                         questions arise, we also inform them that inVentiv's Commercial Compliance
                         Department, Human Resources, and the Compliance Hotline are other
                         available resources.

                  Question for Actavis:
                  19.3   In addition to inVcntiv's available resources would Actavis want us to include
                         any additional resources for inVentiv sales representatives?

                         Representatives are to contact their District managers




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            20.0    Revision History

             Change #     Developed by                   Reason for Revision                Effective Date

                1          Scott Miller        Added new section 17 - State Legislation      01-05-2010




           Health Care Compli<tnce Business Rules

            By signing and dating this document below, I understand and approve of the information
            supplied in the Health Care Compliance Business Rules.




            Scott Miller, Director, Corporate Compliance, in Ventiv Health                        (Date)




            (Signature), (Title), Acta vis                                                        (Date)




            (Signature), (Title), Acta vis                                                        (Date)




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